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                   IN THE UNITED STATES DISTRICT COURT
                      EASTERN DISTRICT OF ARKANSAS
                              DELTA DIVISION

UNITED STATES OF AMERICA                                            PLAINTIFF


V.                                 2:23-CR-0001-DPM


THOMAS DAVID CARRUTH                                                DEFENDANT

                   NOTICE OF PUBLIC AUTHORITY DEFENSE

      Comes Thomas David Carruth, through his attorneys, Robert Golden and

Jeff Rosenzweig, and for his Notice of Public Authority Defense states:

      1.     Although the defense believes that this Notice is not applicable to the

situation presented in this case, it is being made out of an abundance of caution.

      2. Pursuant to Rule 12.3 of the Federal Rules of Criminal Procedure, Carruth

gives notice that his defense may include a defense of actual or believed exercise of

public authority on behalf of a law enforcement agency at the time of the alleged

offense.     Specifically, he believed that as a public official he had an obligation to

follow up on any actual or perceived violations of the law by persons who

approached him in his capacity as a public official.            His contacts with the

government witness accusing him of misconduct were for that purpose.



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                           THOMAS DAVID CARRUTH


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